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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEVADA

                                             ***
 UNION PACIFIC RAILROAD                         Case No. 3:17-cv-00477-LRH-CLB
 COMPANY, a Delaware corporation,
                                                 MINUTE ORDER
                                Plaintiff,
                                                 June 22, 2020
         v.

 WINECUP RANCH, LLC, an Idaho
 Limited Liability Company; and
 WINECUP GAMBLE, INC., a
 Nevada corporation; and PAUL
 FIREMAN, an individual,

                             Defendant.



PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:         NONE APPEARING                 REPORTER: NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                    NONE APPEARING
COUNSEL FOR DEFENDANT(S):                    NONE APPEARING
MINUTE ORDER IN CHAMBERS:
        On June 17, 2020, after the parties filed 25+ motions in limine, the court ordered that
the parties must seek leave of the court to file additional motions in limine. ECF No. 187.
On June 18, 2020, Union Pacific filed such a motion, and requested permission to file its
21st motion in limine under seal with a public redacted copy. ECF No. 188. Upon review of
the filings, the court GRANTS Union Pacific’s motion for leave to file the requested motion
in limine within 5 days of the date of this Order. Because Union Pacific represents that the
at issue financial information in the motion is marked “confidential” under a protective order
in Winecup Gamble, Inc. v. Gordon Ranch LP (Case No. 3:17-cv-00163-RCJ-WGC) and
because the redacted information is limited, the court further GRANTS Union Pacific’s
motion to file it under seal with a redacted copy on the public record.

IT IS SO ORDERED.
                                                   DEBRA K. KEMPI, CLERK

                                                   By:             /s/

                                                                 Deputy Clerk
